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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


LUIS FELIPE MANGUAL #39624-054                  *

                      Petitioner                *

               v.                               *    Civil Action No. RWT-14-2119
                                                     Criminal No. RWT-04-0235
UNITED STATES OF AMERICA                        *

                      Respondent                *
                                               ***

                                   MEMORANDUM OPINION

       In 2004, Petitioner, Luis Felipe Mangual, Jr., was indicted in a large, thirty-one

defendant, drug conspiracy case. See Indictment, ECF No. 1. In the Fifth Superseding

Indictment, Mangual was charged with (a) conspiracy to distribute and possess with intent to

distribute five kilograms or more of cocaine, one kilogram or more of heroin, and fifty grams or

more of cocaine base in violation of 21 U.S.C. § 846 (Count One); (b) use of a communications

device in furtherance of the drug conspiracy charged in Count One in violation of 21 U.S.C.

§ 843(b) (Counts Two, Four, Seven, Nine through Thirteen, Sixteen, Eighteen, Nineteen, and

Twenty-Three through Thirty); (c) possession with intent to distribute 500 grams or more of

cocaine in violation of 21 U.S.C. § 841 (Counts Three, Five, Six, and Eight); possession with

intent to distribute five kilograms or more of cocaine in violation of 21 U.S.C. § 841

(Count Fourteen); (d) interstate travel to facilitate the drug conspiracy in violation of 18 U.S.C.

§ 1952 (Count Twenty); (e) money laundering in violation of 18 U.S.C. § 1956

(Count Twenty-One); and (f) conspiracy to engage in money laundering in violation of 18 U.S.C.

§ 1956 (Count Twenty-Two). See Fifth Superseding Indictment, ECF No. 723.
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       On March 21, 2006, prior to trial, Mangual notified the Court and Government that he

would be pleading guilty to all twenty-eight counts of the Fifth Superseding Indictment in which

he was charged, and without a written plea agreement. See Gov’t Opp’n 2, ECF No. 1354; Mot.

To Vacate 4, ECF No. 1311. That afternoon, the Court held a proceeding pursuant to Federal

Rule of Criminal Procedure 11, at which Mangual entered his pleas. On October 25, 2006, the

Court imposed a sentence of life imprisonment and ten years of supervised release on Counts

One and Fourteen; forty-eight months imprisonment and one year of supervised release on

Counts Two, Four, Six, Seven, Nine through Thirteen, Sixteen, Eighteen, Nineteen, and

Twenty-Three through Thirty; and a sentence of two hundred and forty months imprisonment

and three years of supervised release on Counts Twenty-One and Twenty-Two. See Judgment,

ECF No. 992.

       Mangual filed a timely notice of appeal to the U.S. Court of Appeals for the Fourth

Circuit, and it decided the case by an unpublished opinion on May 22, 2008. See United States v.

Mangual, 278 F. App’x 267 (4th Cir. 2008). The Fourth Circuit found no error regarding (a) this

Court’s calculation of the amount and type of drugs attributable to Mangual for purposes of

determining his base offense level under the U.S. Sentencing Guidelines, (b) the finding that

Mangual’s role within the conspiracy justified a three-level enhancement under the Guidelines,

(c) the imposition of a two-level enhancement for possession of a firearm in furtherance of the

conspiracy, and (d) the sentence of Mangual to life in prison.    See id. at 269-275. Mangual

subsequently sought review by the Supreme Court of the United States, which denied certiorari.

Mangual v. United States, 129 S. Ct. 318 (2008).

       On October 6, 2009, Mangual filed his first Motion to Vacate, Set Aside or Correct his

Sentence. See Mot. To Vacate, ECF No. 1311. In his accompanying memorandum, he raised



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arguments relating to (A) issues raised on appeal, (B) ineffective assistance of counsel, and

(C) insufficient evidence to support his sentence. On August 27, 2010, the Court denied the

Motion to Vacate. ECF Nos. 1389 and 1390. Thereafter, a Certificate of Appealability was

denied.1 ECF Nos. 1413 and 1454.

           On July 3, 2014, Mangual again sought relief by way of a Motion to Vacate. ECF 1693.

A Motion to Vacate filed pursuant to 28 U.S.C. § 2255 is presumed the proper legal process for

collateral attack on a federal sentence. In his latest Motion, Mangual seeks review under § 2255,

alleging that there have been intervening changes in the law based on recent Supreme Court

precedent, thus eliminating the requirement of first obtaining authorization from the Fourth

Circuit pursuant to 28 U.S.C. § 2255(f)(3).2

           Preliminarily, this Court must determine whether Mangual’s § 2255 motion should be

permitted to proceed initially in this Court, or would automatically be deemed a “second” or

“successive” petition under § 2255(h) that requires appellate authorization. That provision states

that:

                    A second or successive motion must be certified as provided in
                    section 22443 by a panel of the appropriate court of appeals to

1
    The mandate issued on June 20, 2011. ECF No. 1461.
2
 This section provides the limitations period run from “the date on which the right asserted was initially recognized
by the Supreme Court, if that right has been newly recognized by the Supreme Court and made retroactively
applicable to cases on collateral review.”

3
    Section 2244 provides, in relevant part, that:

           (a) no circuit of district judge shall be required to entertain an application for a writ of
           habeas corpus to inquire into the detention of a person pursuant to a judgment of a
           court of the United States if it appears that the legality of such detention has been
           determined by a judge or court of the United States on a prior application for a writ of
           habeas corpus, except as provided in section 2255.

           (b)(1) A claim presented in a second or successive habeas corpus application under
           section 2254 that was presented in a prior application shall be dismissed.

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                contain –

                        (1) newly discovered evidence that, if proven and viewed
                in light of the evidence as a whole, would be sufficient to
                establish by clear and convincing evidence that no reasonable
                factfinder would have found the movant guilty of the offense; or

                       (2) a new rule of constitutional law, made retroactive to
                cases on collateral review by the Supreme Court, that was
                previously unavailable.

28 U.S.C. § 2255(h).

       Although unclear, Mangual’s decision to file his § 2255 motion in this Court may be

premised on the recent Fourth Circuit decision in United States v. Hairston, 2014 WL 2600056

(4th Circuit) (June 11, 2014). Hairston’s initial § 2255 petition was denied within a year of his

2003 conviction and sentence. In 2011, a state court conviction used to calculate his criminal

history category under the U.S. Sentencing Guidelines was vacated. Hairston then filed a § 2255

motion to vacate in the district court, which dismissed it as an unauthorized second or successive

motion pursuant to 28 U.S.C. § 2244(b)(3)(A).


       (2) A claim presented in a second or successive habeas corpus application under
       section 2254 that was not presented in a prior application shall be dismissed unless –

                (A) the applicant shows that the claim relies on a new rule of constitutional
                law, made retroactive to cases on collateral review by the Supreme Court,
                that was previously unavailable; or

                (B)(i) the factual predicate for the claim could not have been discovered
                previously through the exercise of due diligence; and

                (ii) the facts underlying the claim, if proven and viewed in light of the
                evidence as a whole, would be sufficient to establish by clear and convincing
                evidence that, but for constitutional error, no reasonable factfinder would
                have found the applicant guilty of the underlying offense.

       (3)(A) Before a second or successive application permitted by this section is filed in
       the district court, the applicant shall move in the appropriate court of appeals for an
       order authorizing the district court to consider the application.




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        A Certificate of Appealability was issued on the question of whether Hairston’s

numerically second Motion to Vacate was a “second or successive” petition under § 2255(h)

requiring prior authorization of the Court of Appeals, where the basis for his claim did not arise

until after the district court denied his first § 2255 motion. The Fourth Circuit, citing its own

precedent and the reasoning of the Tenth and Eleventh Circuits, concluded that it was not barred

as a second or successive petition, finding that:

                 “it is settled law that not every numerically second petition is a
                 ‘second or successive’ petition within the meaning of the
                 AEDPA.” In re Williams, 444 F.3d 233, 235 (4th Cir. 2006)
                 (§ 2254 case); see also Panetti v. Quarterman, 551 U.S. 930,
                 942-47, 127 S.Ct. 2842, 168 L.Ed.2d 662 (2007) (holding that a
                 numerically second § 2254 habeas petition is not a governed by
                 the strictures of § 2244(b)(2) on second or successive petitions
                 where the claim was not ripe at the time of the initial petition).
                 Indeed, we have allowed a numerically second § 2255 motion
                 where the claim arose at a resentencing hearing afforded to a
                 movant as a result of his first § 2255 motion. In re Taylor,
                 171 F.3d 185m 187-88 (4th Cir. 1999). There, we acknowledged
                 that “a claim which did not arise until after a prior petition was
                 filed” should not be “barred as ‘second or successive.’” Id. at
                 187.

Hairston, ___ F.3d ____, 2014 WL 260005 *4.

        Mangual claims he is entitled to review of the instant Motion without appellate

authorization due to an intervening change in the law based on the decision in Alleyne v. United

States, __ U.S. __, 133 S. Ct. 2151, 2155 (June 17, 2013).4 Although Alleyne was not made

retroactive,5 Mangual claims its holding entitles him to relief, because he properly preserved the




4
 Mangual’s Motion to Vacate appears to be dated June 19, 2014. It is arguable that it may be time-barred, as it
appears to be filed two days beyond the June 17, 2013, decision in Alleyne.
5
  See, e.g., Simpson v. United States, 721 F.3d 875, 876 (7th Cir. 2013); In re Payne, 733 F.3d 1027, 1032
(10th Cir. 2013); United States v. Redd, 735 F.3d 88, 92 (2d Cir. 2013); Johnson v. United States, 2014 WL 470077
at *5 (D. Md. Feb. 4, 2014) (“[Alleyne] likely does not apply retroactively on collateral review.”).


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issues of drug type and quantity, enhancement for his leadership role, and possession of a gun by

a co-defendant on appeal. ECF 1693-1, pp. 1-2.

       Alleyne involved the issue of whether a judge had improperly decided an issue of fact

more properly in the province of the jury, thus violating the Sixth Amendment. The right to trial

by an impartial jury requires, in conjunction with the Due Process Clause, “that each element of

a crime be proved to the jury beyond a reasonable doubt.” Alleyne, 133 S. Ct. at 2156. In the

case of Alleyne, the Supreme Court found that the sentencing range supported by the jury’s

verdict was five years’ imprisonment to life, but the judge, rather than the jury, decided an

aggravating factor which increased the mandatory minimum from five years to seven years.

Id. at 2163.

       The same logic applies in a case where, as here, the conviction is based on a guilty plea.

If a fact not admitted by a defendant in his guilty plea is used by a judge to increase a mandatory

minimum, an Alleyne violation results. United States v. Bradley, 2014 WL 3953964 at *3 (error

found where a threshold drug quantity necessary for an enhanced mandatory minimum was

“neither alleged in the indictment nor admitted . . . in connection with his guilty plea.”).

       Even if Mangual’s petition were not subject to dismissal as being an unauthorized second

or successive motion, it is devoid of any factual merit whatsoever because the decision in

Alleyne, even if applied retroactively, provides no basis for relief.

       On March 21, 2006, the Government filed a notice of its intention to seek enhanced

penalties pursuant 21 U.S.C. § 851, and Mangual then entered his plea of guilty without the

benefit of a plea agreement. The life sentence that he received was not the result of any

enhanced mandatory minimum found by the Court, and without the benefit of a finding by the

jury or an admission by Mangual. Having previously been convicted of a felony drug offense,



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his potential punishment under Count One of the Indictment (which alleged conspiracy to

distribute and possession with intent to distribute five kilograms or more of cocaine) based solely

on the language of the Indictment itself was not less than twenty years nor more than life.6

Mangual vigorously disputed the amounts of drugs in excess of five kilograms of cocaine at

sentencing and in his direct appeal to the Fourth Circuit. However, those determinations did not

affect the mandatory minimum, were all made within the context of the advisory sentencing

guidelines, and were upheld by the Fourth Circuit. Accordingly, there is simply no factual basis

whatsoever for any contention that the Court made a determination of fact that was not well

within the scope of his admission when Mangual pled guilty to Count One of the Fifth

Superseding Indictment. Thus, Mangual’s Motion to Vacate is not only a second or successive

motion, prohibited unless authorized by a court of appeals, but also it is devoid of any merit

whatsoever. Application of the holding in Alleyne would, in any event, be of no avail to

Mangual.

         A separate Order shall be entered denying his Motion to Vacate and denying a

Certificate of Appealability.



September 19, 2014                                                          /s/
                                                                      ROGER W. TITUS
                                                                 UNITED STATES DISTRICT JUDGE




6
  When he entered his guilty plea, Mangual acknowledged that his potential punishment on Count One was “a
minimum mandatory term of 20 years and a maximum of life in prison.” ECF No. 917-2, p. 10, lines 20-21. His
counsel also stated that “we agree that there is a factual basis that Mr. Mangual was involved in a conspiracy to
distribute more than five kilograms of cocaine.” Id. at p. 53, line 25 – p. 54, lines 1-2. Mangual’s counsel in his
Sentencing Memorandum noted on page 1 that his “statutory sentencing exposure, pursuant to the counts of
conviction, are as follows: Counts One and Fourteen, a minimum term of imprisonment of twenty years to a
maximum term of life imprisonment per count.” ECF No. 975, p. 1.


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